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Exhibit 12
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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

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POST-APPEAL ELIGIBILITY NOTICE
DATE OF NOTICE: September 20, 2013

I. CLAIMANT AND CLAIM INFORMATION

Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. COMPENSATION AND PAYMENT DETERMINATION

This Notice is an official communication from the Claims Administrator for the Deepwater Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to the claim identified in Section I.
You or BP appealed the Compensation Amount initially offered after we reviewed your claim. The Appeal process
is complete and the Post-Appeal Compensation Amount in Row 1 below is the Settlement Program’s final decision
on your claim. The following provides a breakdown of the factors relevant to your payment.

1. |Post-Appeal Compensation Amount: $142,576.07
5% Review Cost: If you prevailed on your Appeal you will receive a 5% increase in the

2. . $7,128.80
Post-Appeal Compensation Amount.
Filing Fee Adjustment: This amount is the 5% reduction in the pre-RTP Compensation

3 Amount that you agreed to pay if you did not prevail in the appeal. If you did not prevail and $0.00

. this amount is zero, you have already paid your filling fee and your pre-RTP Compensation ,

Amount will not be reduced.

4. |Risk Transfer Premium Multiplier: 0.25
Risk Transfer Premium Amount: This amount is your Post- Appeal Compensation Amount

5. | multiplied by the Risk Transfer Premium Multiplier. This amount will be added to your Post- $35,644.02
Appeal Compensation Amount.

6. |Plus Claimant Accounting Support: $530.30
Less Prior Spill-Related Payments: If your claim was for the Seafood Compensation
Program, all of your eligible Seafood Compensation Program claims must exceed this amount in
order to receive payment. If you have multiple Seafood Compensation Program claims eligible
for compensation, these offsets will appear on each Eligibility Notice. However, we will apply

7. these offsets for prior Seafood Spill-Related Payments only once against your Total Seafood $28,700.52
Compensation Program Award. If this amount is zero, you do not have any offsets or any
previous Seafood Compensation Program offsets already have been deducted from a previous
Seafood Compensation Program Payment.

8. |Total Compensation Amount: $157,178.67

9. |40% of Prior Transition Offer, if Applicable: N/A
Filing Fee Refund: This is the refund of the appeal filing fee if you paid. We will only refund

10. . .  F $0.00
this fee if you prevailed in the appeal.

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11. Award Amount: Higher of 40% Amount or Final Claimant Compensation, subject to any $157,178.67

applicable liens.
APP-9 v.3 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM R@GQN 1D: 196002412

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III. RELEASE AND PAYMENT

Because you previously signed a Full and Final Release, Settlement, and Covenant Not to Sue and have received a
payment from the Settlement Program, you do not need to submit another Release to receive a payment on this
claim. To obtain more detailed information about the payment process and other steps, go to
www.deepwaterhorizoneconomicsettlement.com. If you have any questions about your options or this
Notice, you may call the Claimant Communication Center at 1-800-353-1262, send an email to
Questions@dhecc.com, or visit a Claimant Assistance Center.

You have 180 days from the date we mail or wire your initial payment to file any additional claims you wish to
pursue pursuant to Section 4.4.8 of the Settlement Agreement. You will waive all rights to future claims if you do
not submit additional claims within this 180-day window. However, if you are filing a claim in the Seafood
Compensation Program, you must have filed all Seafood-related claims no later than January 22, 2013.

IV. OPTION TO ELECT A STRUCTURED SETTLEMENT

You may be able to place some or all of your Award Amount into a structured settlement to receive multiple
payments spread out over more than one year (the “Structured Settlement Option”). You should consult your own
tax adviser regarding whether you should consider that Structured Settlement Option, and the tax, financial and
other consequences of the Structured Settlement Option.

If you want more information on the Structured Settlement Option, go to
www.deepwaterhorizoneconomicsettlement.com/structuredsettlement.php or call the Claimant
Communications Center at 1-800-353-1262. BECAUSE YOU ALREADY HAVE AN ACCEPTED RELEASE, IF YOU
WISH TO BE PAID USING THE STRUCTURED SETTLEMENT OPTION, CONTACT THE CLAIMANT COMMUNICATION
CENTER AT 1-800-353-1262 OR SEND AN EMAIL TO QUESTIONS@DHECC.COM TO LET US KNOW YOUR
INTENT TO STRUCTURE YOUR SETTLEMENT SO WE DO NOT IMMEDIATELEY PAY THIS CLAIM. Instead, a Court-
approved structured settlement broker will help you assemble the paperwork necessary to elect the Structured
Settlement Option and that broker will send your completed paperwork to the Claims Administrator (this
paperwork will include an additional document that will be Attachment C to your original Release). If this
paperwork is not submitted on your behalf by a Court approved structured settlement broker within 30 days from
the date shown on this Notice, the Claims Administrator will consider that you have accepted your Award Amount
to be paid in a lump sum and that you do not want a Structured Settlement Option for this Award Amount.

V. DECEASED, MINOR AND INCOMPETENT CLAIMANTS

If you accept your Award Amount and the claimant on whose behalf this claim was asserted is deceased, a minor,
or incompetent, depending upon the law of the state where the claimant lived or lives now, you may be required
to get court approval of this accepted settlement and submit a copy of an official court document proving that the
person signing the Release has the authority to settle this claim on the claimant's behalf if you do not already
have such a document, even if we accepted whatever proof you have provided before now as sufficient to allow
the claim to move through the claim review process. We will notify you if you need to seek court approval or
submit additional proof of authority before payment.

VI. THIRD PARTY CLAIMS/LIENS

If we receive a valid Third Party Claim or Lien against your payment before we begin the payment process, we are
required to deduct from your Award Amount identified in Section II of this Notice the third party claim amount and
any other deductions required by state or federal law or by any court order. If your claim is subject to a third
party claim, we will send you a Notice of Valid Third Party Claim to explain how it affects your current and/or
future Award Amount(s).

VII. ACCOUNTING SUPPORT REIMBURSEMENT

You are eligible to receive reimbursement for reasonable and necessary accounting fees related to claims
preparation. Reimbursement is limited to the accounting services necessary to complete the Claim Form or
prepare supporting documentation. You will be reimbursed for accounting fees based on the actual fees incurred.

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For business claims over $50,000, total accounting fees may not exceed 2% of the Compensation Amount
(excluding any applicable Risk Transfer Premium). Accounting fees for all other claims less than or equal to
$50,000 are limited to $1,000. All business claims, regardless of the Compensation Amount, shall be subject to an
overall accounting support reimbursement limit of $50,000.

VIII. HOW TO CONTACT US WITH QUESTIONS OR FOR HELP

If you have any questions about this Notice or the status of your claim(s) or for help, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
claims preparation company, you should call or email your designated DWH Contact for help or assistance. You
also may visit a Claimant Assistance Center and talk with one of our representatives. For a complete list of
Claimant Assistance Centers, go to www.deepwaterhorizoneconomicsettlement.com.

IX. HOW TO RESPOND TO THIS NOTICE

Submit your origina/ hard copy, signed Release bearing the claimant’s signature by Mail, Overnight Certified or
Registered Mail, or by visiting a Claimant Assistance Center. If you have already submitted a signed Release, you
do not need to submit another Release to receive a payment on this claim.

By Mail Deepwater Horizon Economic Claims Center
y mal PO Box 1439
Hammond, LA 70404-1439

. oe . Deepwater Horizon Economic Claims Center
By Overnight, Certified or Registered lasing Administrator

Mail 42548 Happy Woods Road
Hammond, LA 70403

Visit a Claimant Assistance Center You may take the required information or documents to a Claimant
Assistance Center.

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